Case 21-40834-drd11         Doc 346 Filed 02/09/22 Entered 02/09/22 14:34:02                  Desc
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                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MISSOURI
In Re:
                                              )
INTERSTATE UNDERGROUND                        )
WAREHOUSE AND INDUSTRIAL                      )       Case No. 21-40834-DRD11
 PARK, INC.,                                  )
                                              )
                       Debtor.                )

                         NOTICE OF INTENT TO ISSUE SUBPOENA

         NOTICE IS HEREBY GIVEN, pursuant to Rule 9001, that Sanford P. Krigel, attorney

for Debtor in the above-stated case, hereby files his notice that he intends to issue a subpoena

upon Harrah’s Kansas City, LLC. A copy of the proposed subpoena is attached as Exhibit A.

                                                      KRIGEL & KRIGEL, P.C.


                                                      /s/Sanford P. Krigel
                                                      Sanford P. Krigel MO 27382
                                                      4520 Main Street, Suite 700
                                                      Kansas City, Missouri 64111
                                                      TEL: (816) 756-5800
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                                                      skrigel@krigelandkrigel.com
                                                      ATTORNEYS FOR DEBTOR

                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing NOTICE and attached subpoena was filed with
the Clerk of the Bankruptcy Court via the ECF system on this 9th day of February 2022, and was
emailed to all creditors and parties in interest listed on the Court’s ECF noticing system and to the
following:

         Wayne Reeder
         c/o Colin N. Gotham
         7225 Renner Road, Ste. 200
         Shawnee, KS 66217
         cgotham@emlawkc .com

                                                      /s/Sanford P. Krigel
                                                      Sanford P. Krigel
